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       EXHIBIT 10
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                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA


ELIZABETH SINES et al.,                 :      CASE NO: 3:17cv00072
                                        :      (J. Moon, Magistrate J. Hoppe)
             Plaintiff                  :
                                        :
vs.                                     :
                                        :
JASON KESSLER et al.,                   :
                                        :
             Defendant                  :

       DEFENDANT IDENTITY EVROPA’S RESPONSES TO DEFENDANT’S FIRST
      INTERROGATORIES AND REQUEST FOR PRODUCTION OF DOCUMENTS
_______________________________________________________________________________


      Now comes defendant Identity Evropa (“IE”) and responds to defendants first set of
Interrogatories and Request for Documents as follows:


                                 I. DISCOVERY REQUESTS
        1.     Identify all means of communication used by you to communicate concerning the
Events, whether before, during, or after the Events, and for each means of communication, identify
all names, aliases, e-mail addresses, phone numbers, and Social Media Handles you used in
connection with such communications, including the 18-digit account identifier associated with any
Discord account used by You. Means of communications include, but are not limited to, telephone
calls, in-person meetings, and all means of electronic communication including, for example, Social
Media, email, SMS messages, podcasts, and online video.

             ANSWER: identityevropa.com,

             youtube: https://www.youtube.com/channel/UC8ZmnNg0kKjX2C0NeXsukXg,

             twitter: Handle: @IdentityEvropa
             URL: https://twitter.com/IdentityEvropa

             Facebook
             Page: Identity Evropa

             No longer exists. Was deleted by Facebook after Charlottesville.

             Discord
             Server: Identity Evropa

             Slack

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             guardianie.slack.com




      2.     Identify any “channel” or “server” on Discord to which you had access.

             ANSWER: Identity Evropa server. Lost access on or about 8/14/17.


      3.     Identify all persons (natural or non-natural) with whom you communicated concerning
the Events, whether before, during, or after the Events.
             ANSWER: Eli Mosely aka Elliott Kline handled IE’s limited presence in
      Charlottesville.


      4.     Identify all Electronic Devices used by you to communicate concerning the Events,
whether before, during, or after the Events.

           ANSWER: Mr. Mosely’s communication devices. Specific information is
unknown to IE at this time.


                                  II. DOCUMENT REQUESTS


      General Response: IE objects to all below document requests on the grounds that to comply
without third party permission or a court order violates the Stored Communications Act 18 USC
§2701 et seq.



         1.     All Documents and Communications concerning the Events, including without
limitation all
documents and communications:
i. concerning any preparation, planning, transportation to, or coordination for, the Events,
including receipts, bills and credit card statements reflecting costs for transportation,
lodging, apparel, gear, or any other material purchased for the Events;
ii. concerning any instructions or coordination relating to the Events, including security
details, what to wear, what to bring, when to meet, where to meet, what to say, and any
other logistical information or arrangements;
iii. that are Social Media documents concerning the Events;
iv. you created during the Events, including Social Media, text messages, video, and
photographs;
v. concerning African Americans, Jewish individuals, or other religious, racial, or ethnic
minorities that relate in any way to the Events;

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vi. concerning any statement or action attributed to You in the Amended Complaint; or
vii. concerning any allegation of an altercation, violent act, injury, or instance of intimidation
or harassment that occurred during the Rally, including but not limited to James Fields’
vehicular incident; or
viii. concerning any funding of the Events, including for transportation, housing, food,
weapons, uniforms, signage, tiki torches, or other materials or services used in
connection with the Events (or the planning thereof)..

              ANSWER: See above objection.



       2. All Documents and Communications concerning events, meetings, rallies,
          conferences, or conversations held prior to the Events that relate to the Events in any way.

              ANSWER: See above objection.


       3.      All Documents concerning and all Communications concerning or with East Coast
       Knights of the Ku Klux Klan (or East Coast Knights of the True Invisible Empire), Fraternal
       Order of the AltKnights, Identity Europa (or Identity Evropa), League of the South, Loyal
       White Knights of the Ku Klux Klan (or Loyal White Knights Church of the Invisible Empire
       Inc.), Moonbase Holdings, LLC, Nationalist Socialist Movement, Nationalist Front (or Aryan
       National Alliance), Traditionalist Worker Party, Vanguard America, or any such other social
       group or organization that has as part of its agenda a racial, religious, or ethnic objective.

              ANSWER: See above objection.


       4.    All Documents and Communications concerning violence, intimidation, or harassment
of Persons on the basis of race, religion, or ethnicity, including but not limited to, ethnic cleansing,
white genocide, a white ethno-state, or any other form of large or small scale violence.

              ANSWER: See above objection.




      5.      For any Social Media account You had from January 1, 2015, to the present: i.
Documents and Communication sufficient to show the account home page, and all uses of Social
Media for that account that reference or concern the Events or Defendants in any way. ii.
Documents and Communication sufficient to show all Your “friends” and/or “social connections”
maintained on Your account, including their names, addresses, and social network usernames or
handles.

              ANSWER: See above objection.


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      6.     All Documents concerning and all Communications concerning or with any Plaintiff or
Defendant (other than You) named in the Amended Complaint, and any other Person who attended,
planned or was involved in the Events.

              ANSWER: See above objection.

       7.      All Documents and Communications concerning any lawsuits, claims of violence, or
arrests relating to or arising out of racially, ethnically, or religiously motivated conduct by You or any
Defendant named in the Amended Complaint.

              ANSWER: See above objection.

     8.    All Documents and Communications concerning the steps you have taken to preserve
Documents and Communications relevant to the lawsuit, including the Documents and
Communications responsive to these Requests.

              ANSWER: No special steps were taken.



                                           Respectfully Submitted and as to Objections:

                                           s/ James E. Kolenich PHV_______________
                                            James E. Kolenich
                                            Ohio Bar Number: 0077084
                                           Attorney for Jason Kessler
                                           Kolenich Law Office
                                           9435 Waterstone Blvd. #140
                                           Cincinnati, OH 45249
                                           (513) 444-2150
                                           (513) 297-6065 (fax)
                                           Email: Jek318@gmail.com




                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served on April 6, 2018
via email upon: Mr. Yotam Barkai, Esq., Ms. Sequin Strohmeier Esq. Attorneys for Plaintiffs as
follows: email: YBarkai@bsfllp.com; sstrohmeier@kaplanandcompany.com


                                                         s/ James E. Kolenich PHV
                                                         James E. Kolenich


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                             Acknowledgment by Authorized Person

sTATE oF    Nev--J ~nrK
Personally appeared before me Nathan Damigo, authorized officer of Identity Evropa on
       i\
 /\,?r (o; 1.0      \8'     (date) and did swear that the above responses to interrogatories and
requests for production of documents are true and correct to the best of his knowledge on the
date listed in this acknowledgement.

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Notary Public
Printed Name:   L\ ~a \\1    J(lf052
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                                                  Notary Public, Slate of New York.-
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                                                     O~alified in Erie County
                                                 Comm1ss1on Expires 08/18/20 )   8'
